Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 1 of 50




             EXHIBIT E
                            Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 2 of 50


                           (12) INTERNATIONAL APPLICATION PUBLISHED UNDER THE PATENT COOPERATION TREATY (PCT)
                           (19) World Intellectual Property
                                    Organization                                             111111111111110111010101111101111111100111011001111111110111110111111111110111111
                                 International Bureau
                                                                                                      (10) International Publication Number
                       (43) International Publication Date                                                 WO 2016/064919 Al
                          28 April 2016 (28.04.2016)                 WIPO I PCT
                    (51) International Patent Classification:                                BZ, CA, CH, CL, CN, CO, CR, CU, CZ, DE, DK, DM,
                         G06Q 40/08 (2012.01)                                                DO, DZ, EC, EE, EG, ES, FI, GB, GD, GE, GH, GM, GT,
                                                                                             HN, HR, HU, ID, IL, IN, IR, IS, JP, KE, KG, KN, KP, KR,
                    (21) International Application Number:                                   KZ, LA, LC, LK, LR, LS, LU, LY, MA, MD, ME, MG,
                                                                PCT/US2015/056520            MK, MN, MW, MX, MY, MZ, NA, NG, NI, NO, NZ, OM,
                    (22) International Filing Date:                                          PA, PE, PG, PH, PL, PT, QA, RO, RS, RU, RW, SA, SC,
                                                      20 October 2015 (20.10.2015)           SD, SE, SG, SK, SL, SM, ST, SV, SY, TH, TJ, TM, TN,
                                                                                             TR, TT, TZ, UA, UG, US, UZ, VC, VN, ZA, ZM, ZW.
                    (25) Filing Language:                                    English
                                                                            (84) Designated States (unless otherwise indicated, for every
                    (26) Publication Language:                               English
                                                                                 kind of regional protection available): ARIPO (BW, GH,
                    (30)   Priority Data:                                        GM,   KE, LR, LS, MW, MZ, NA, RW, SD, SL, ST, SZ,
                           62/066,716      21 October 2014 (21.10.2014)  US      TZ, UG, ZM, ZW), Eurasian (AM, AZ, BY, KG, KZ, RU,
                                                                                 TJ, TM), European (AL, AT, BE, BG, CH, CY, CZ, DE,
                    (72)   Inventor; and                                         DK, EE, ES, FI, FR, GB, GR, HR, HU, IE, IS, IT, LT, LU,
                    (71)    Applicant : ABRAMOWITZ, Marc, Lauren [US/US];        LV, MC, MK, MT, NL, NO, PL, PT, RO, RS, SE, SI, SK,
                           1029 Ramona Street, Palo Alto, CA 94301 (US).         SM, TR), OAPI (BF, BJ, CF, CG, CI, CM, GA, GN, GQ,
                                                                                 GW, KM, ML, MR, NE, SN, TD, TG).
                    (74)   Agent: TEHRANCHI, Babak; Perkins Coie LLP, P.O.
                           Box 1247, Seattle, WA 98111-1247 (US).           Published:
                    (81) Designated States (unless otherwise indicated, for every      —     with international search report (Art. 21(3))
                         kind of national protection available): AE, AG, AL, AM,
                         AO, AT, AU, AZ, BA, BB, BG, BH, BN, BR, BW, BY,




= (54) Title: DYNAMIC SECURITY RATING FOR CYBER INSURANCE PRODUCTS
WO2016/0649 19 Al




                                                                                 FIG. 2


                    (57) Abstract: In one or more embodiments, the technology determines one or more cyber insurance policies and/or products based
                    on a company's real-time exposure to a cyber attack on one or more of its computing asset's. The technology performs various secur -
                    ity analysis techniques to explore, locate, and evaluate a company's network/assets for creating risk and damage assessments that are
                    used for dynamically determining a cyber insurance that is tailored to that company at that moment of time and, optionally, based on
                    future projections. The technology can continuously or semi-continuously monitor the company's network for any changes and, upon
                    detection of changes that could affect the company's exposure to a cyber attack, provides information associated with the detected
                    changes as feedback to allow determination of new/modified cyber insurance policies/products.
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 3 of 50

     WO 2016/064919                                                            PCT/US2015/056520




 DYNAMIC SECURITY RATING FOR CYBER INSURANCE PRODUCTS

                   CROSS REFERENCE TO RELATED APPLICATIONS
[0001]             This patent application claims priority to U.S. Provisional Application
No. 62/066,716, filed October 21, 2014. The entire content of the before-mentioned provisional
patent application is incorporated by reference as part of the disclosure of this application.


                                       TECHNICAL FIELD
[0002]             The present disclosure relates generally to systems, apparatuses, and methods
and computer program that are stored on non-transitory storage media (collectively referred to as
the "technology") related to determining a company's vulnerability to a cyber security —related
attack ("cyber attack") and, based on the level of vulnerability, determining tailored cyber
insurance policies and/or products to insure against the cyber attack.

                                          BACKGROUND
[0003]          This section is intended to provide a background or context to the disclosed
embodiments that are recited in the claims. The description herein may include concepts that
could be pursued, but are not necessarily ones that have been previously conceived or pursued.
Therefore, unless otherwise indicated herein, what is described in this section is not prior art to
the description and claims in this application and is not admitted to be prior art by inclusion in
this section.
[0004]          Insurance is a form of risk management tool primarily used by individuals,
businesses, and other organizations to hedge against the risk of a contingent, uncertain loss that
they can't or don't want to bear alone. An insured, or policyholder, can buy an insurance policy
from an insurer, or insurance carrier, for an amount of money, called the premium, for a certain
amount of insurance coverage specified by an insurance policy. Traditionally, insurance policies
available to cover losses from business may be classified as: (1) business personal insurance
policies to cover first-party losses; (2) business interruption policies; (3) commercial general
liability or umbrella liability insurance policies, to cover liability for damages to third parties;
and (4) errors and omissions insurance to cover the company's officers. These traditional
insurance policies were designed to cover the traditional perils of fires, floods, and other forces
of nature.

                                                  -1-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 4 of 50

    WO 2016/064919                                                           PCT/US2015/056520




[0005]         In the last half a century, computers have become an integrated part of life for any
individuals and organizations. As organizations become more dependent on their networked
computer assets, they become more vulnerable to harm from increasing frequent and damaging
attacks made possible by computers. Since traditional insurance policies are normally written
before the advent of the Internet, they do not expressly cover new computer related risks. Cyber
insurance is a specialty insurance product that covers losses associated with a company's
information assets including computer generated, stored, and processed information. Cyber
insurance may become part of the overall solution to computer network and system security,
which becomes more and more important due to the increasing number of virus attacks, hacker
assaults, and other IT security incidents. However, due to the ever-changing nature of cyber
security and cyber vulnerabilities, traditional insurance or even cyber insurance policies and
associated premiums do not adequately correspond to the level of risk that is associated with a
computer asset.


                        SUMMARY OF CERTAIN EMBODIMENTS
[0006]         The disclosed technology relates to determination one or more cyber insurance
policies, products and/or ratings based on processing of real-time information related to cyber
attacks on one or more of computing assets that are coupled to a computer network.
[0007]         One aspect of the technology relates to a method for producing insurability ratings
for a product or service. The method includes receiving, at a processor that is implemented at
least in-part by electronic circuitry and coupled to a computer network, real-time data indicative
of cyber attacks that are likely to diminish a value of the product or service. The method further
includes using the processor to process the real-time data to compute a real-time damage
assessment associated with losses to the product or service due to occurrence of one or more
cyber-attacks. The damage assessment is computed using at least a likelihood of occurrence of
the one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a
measure of severity of damage to the product of service as a result of the occurrence of the one
or more cyber attacks. The above noted method also includes using the processor to determine
an insurability rating for the product or service that is usable for determination of an amount of
insurance that sufficiently insures against the occurrence of the one or more cyber attacks. The




                                                -2-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 5 of 50

     WO 2016/064919                                                            PCT/US2015/056520




insurability rating is determined at least in-part based on the real-time damage assessment and is
changeable in response to changes in the received real-time data.
[0008]          In one exemplary embodiment, the method further includes using the insurability
rating to produce an insurance premium value for the product or service. In another exemplary
embodiment, the real-time damage assessment is computed on an on-going basis based on
changes in the real-time data with a time granularity of 1 micro second or less. In yet another
exemplary embodiment, the insurability rating is produced at least in-part by processing the real-
time damage assessment over a pre-determined time interval and determining a statistical value
associated with a plurality of insurability rating values over the pre-determined time interval. In
some embodiments, the statistical value is an average of the plurality of insurability rating values
over the pre-determined time interval. In some exemplary embodiments, the statistical value is a
weighted average of the plurality of insurability rating values over the pre-determined time
interval, and insurability rating values that correspond to later time instances within the
predetermined time interval are assigned a larger weight compared to insurability rating values
that correspond to earlier time instances within the predetermined time interval. In some
example embodiments, the pre-determined time interval is one of: one hour, one day, one week
or one month.
[0009]          According to one exemplary embodiment, the above noted method further
includes determining at least one additional insurability rating based on the real-time data, where
one of the insurability rating or the additional insurability rating corresponds to a short-term
insurability rating, and the other of the insurability rating or the additional insurability rating
corresponds to a long-term insurability rating. In some exemplary embodiments, the short-term
insurability rating corresponds to a time period that is in the range of one hour to one day, and
the long-term insurability rating corresponds to a time period that is greater than one day and up
to one month. In still another exemplary embodiment, the real-time damage assessment is
computed using a weighted average technique that assigns a first weight to the likelihood of
occurrence of the one or more cyber attacks, a second weight to the likelihood of success of the
one or more cyber attacks, and a third weight to the measure of severity of damage to the product
of service. In yet another exemplary embodiment, each of the likelihood of occurrence of the
one or more cyber attacks, the likelihood of success of the one or more cyber attacks, and the
measure of severity of damage to the product of service is determined using historical


                                                  -3-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 6 of 50

     WO 2016/064919                                                           PCT/US2015/056520




information associated with previously launched cyber attacks against the products or the
service. For example, the historical information can include one or more of: a number of
previous cyber attacks against the product or service, a rate of success of previous cyber attacks
against the product or service, an amount of damage to the service or product caused by a
previous cyber attack, or a frequency of occurrence of cyber attacks against other entities that
offer products or services that are similar to the product and service.
[0010]         In one exemplary embodiment, the likelihood of occurrence of the one or more
cyber attacks is produced by analyzing data associated with patterns of cyber activity over a
plurality of data networks in real-time. In some embodiments, the patterns of cyber activity are
indicative of cyber attacks on other organizations with network connectivity. In another
exemplary embodiment, the insurability rating is determined using an inverse proportionality
relationship with respect to the real-time damage assessment. In yet another exemplary
embodiment, the insurability rating is determined based in-part on existing cybersecurity
countermeasures that are deployed to protect computers, networks or storage units that
participate in storage, production or distribution of the product or service. In some
embodiments, the insurability rating is modified based on changes in the cybersecurity
countermeasures deployed to protect computers, networks or storage units that participate in
storage, production or distribution of the product or service.
[0011]         In another exemplary embodiment, the above noted method further includes
providing one or more of the following to an entity that is interested in obtaining or maintaining
insurance coverage for the product or service: (a) information regarding the real-time damage,
(b) information regarding the likelihood of occurrence of the one or more cyber attacks, (c)
information regarding the likelihood of success of the one or more cyber attacks, (d) information
regarding the measure of severity of damage to the product of service as a result of the
occurrence of the one or more cyber attacks, (e) a recommendation for obtaining additional
cybersecurity countermeasures, or (f) a particular cybersecurity countermeasure.
[0012]         Another aspect of the technology relates to a computer program product,
embodied on one or more non-transitory computer media, that includes program code for
receiving real-time data from a computer network at a processor that is implemented at least in-
part by electronic circuitry, where the real-time data is indicative of cyber attacks that are likely
to diminish a value of the product or service. The computer program product further includes


                                                 -4-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 7 of 50

    WO 2016/064919                                                           PCT/US2015/056520




program code for processing by the processor the real-time data to compute real-time damage
assessment associated with losses to the product or service due to occurrence of one or more
cyber-attacks, where the damage assessment is computed using at least a likelihood of
occurrence of the one or more cyber attacks, a likelihood of success of the one or more cyber
attacks, and a measure of severity of damage to the product of service as a result of the
occurrence of the one or more cyber attacks. The computer program product further includes
program code for determining by the processor an insurability rating for the product or service
that is usable for determination of an amount of insurance that sufficiently insures against the
occurrence of the one or more cyber attacks, where the insurability rating is determined at least
in-part based on the real-time damage assessment and is changeable in response to changes in the
received real-time data.
[0013]         Another aspect of the technology relates to a device that includes a processor
implemented using electronic circuitry, and a memory comprising processor executable code.
The processor executable code, when executed by the processor, causes the device or the
components of the device to receive real-time data indicative of cyber attacks that are likely to
diminish a value of the product or service, and process the real-time data to compute a real-time
damage assessment associated with losses to the product or service due to occurrence of one or
more cyber-attacks. The damage assessment is computed using at least a likelihood of
occurrence of the one or more cyber attacks, a likelihood of success of the one or more cyber
attacks, and a measure of severity of damage to the product of service as a result of the
occurrence of the one or more cyber attacks. The processor executable code, when executed by
the processor, further causes the device or the components of the device to determine an
insurability rating for the product or service that is usable for determination of an amount of
insurance that sufficiently insures against the occurrence of the one or more cyber attacks, where
the insurability rating is determined at least in-part based on the real-time damage assessment
and is changeable in response to changes in the received real-time data.
[0014]         Another aspect of the technology relates to a system for determining insurability
rating of a service or product that includes a server device coupled to a computer network to
receive real-time data indicative of cyber attacks that are likely to diminish a value of the product
or service and to produce an insurance premium estimate based at least in-part on the received
real-time data. The system also includes a client device coupled the computer network to receive


                                                 -5-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 8 of 50

    WO 2016/064919                                                           PCT/US2015/056520




the insurance premium estimate produced by the server device. The server device uses the real-
time data to compute a real-time damage assessment associated with losses to the product or
service due to occurrence of one or more cyber-attacks, where the damage assessment is
computed using at least a likelihood of occurrence of the one or more cyber attacks, a likelihood
of success of the one or more cyber attacks, and a measure of severity of damage to the product
of service as a result of the occurrence of the one or more cyber attacks. The sever device
determines an insurability rating for the product or service that is usable for determination of an
amount of insurance that sufficiently insures against the occurrence of the one or more cyber
attacks, where the insurability rating is determined at least in-part based on the real-time damage
assessment and is changeable in response to changes in the received real-time data.


                        BRIEF DESCRIPTION OF THE DRAWINGS
[0015]         FIG. 1. is a block diagram of a basic and suitable computer that may employ
aspects of the described technology.
[0016]         FIG. 2. is a block diagram illustrating a simple, yet suitable system in which
aspects of the described technology may operate in a networked computer environment.
[0017]         FIG. 3A illustrates an exemplary asset risk profile that may employ aspects of the
described technology.
[0018]         FIG. 3B illustrates an exemplary asset damage profile that may employ aspects of
the described technology.
[0019]         FIG. 3C illustrates an exemplary company risk profile that may employ aspects of
the described technology.
[0020]         FIG. 4 illustrates a block diagram of an exemplary device that can be
implemented as part of the disclosed devices and systems.
[0021]         FIG. 5 illustrates a flow diagram for determining cyber insurance based on
various profiles in accordance with an exemplary embodiment.
[0022]         FIG. 6 illustrates a flow diagram of communications between a customer and an
insurance company in accordance with an exemplary embodiment.
[0023]         FIG. 7 illustrates a set of operations that can be carried out to determine an
insurability rating for a product or a service in accordance with an exemplary embodiment.




                                                -6-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 9 of 50

    WO 2016/064919                                                            PCT/US2015/056520




[0024]            FIG. 8 illustrates some of the components of a device 1000 that can operate to
produce an insurability rating in accordance with an exemplary embodiment
[0025]            FIG. 9 illustrates a block diagram of a device that can be implemented as part of
the disclosed devices and systems.


                                    DETAILED DESCRIPTION
[0026]            In the following description, for purposes of explanation and not limitation,
details and descriptions are set forth in order to provide a thorough understanding of the
disclosed embodiments. However, it will be apparent to those skilled in the art that the present
invention may be practiced in other embodiments that depart from these details and descriptions.
Additionally, in the subject description, the word "exemplary" is used to mean serving as an
example, instance, or illustration. Any embodiment or design described herein as "exemplary" is
not necessarily to be construed as preferred or advantageous over other embodiments or designs.
Rather, use of the word exemplary is intended to present concepts in a concrete manner.
[0027]            Cyber insurance can, in principle, be an important risk-management tool for
strengthening IT security and reliability for companies. There may be many parties involved in
the cyber insurance industry including underwriters, agents, and clients, code writers, inspectors,
and vendors of products and services, working together to provide the needed coverage for the
policy holders.
[0028]            In some cases, specialized policies can cover losses from computer viruses or
other malicious code, destruction or theft of data, business interruption, denial of service, and/or
liability resulting from e-commerce or other networked IT failures. In some other cases,
insurance policies for cyber insurance may cover the cost of legal disputes arising from cyber
attacks on the insurance policy holder's digital assets. In still other cases, cyber insurance
policies may specifically exclude certain coverages such as to exclude coverage of "electronic
data," "computer code," and other similar terms as tangible property.
[0029]            For an insurance policy, the deductible may play an important role in managing
cyber security risk. For example, the deducible amount may be a way of lowering the insurance
company's risk since a higher deductible can reduce the amount for paying out on a claim. In
particular, higher deductibles can be imposed for companies with greater cyber security risks,
such as those companies with consistently lower investment in cyber security, with poor security


                                                  -7-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 10 of 50

    WO 2016/064919                                                          PCT/US2015/056520




controls or with inadequate IT staff, among other factors. From a risk management point of
view, it is important for a company to understand that deductibles affect the premiums. A lower
deductible can lead to a higher premium, and vice versa.
[0030]         Premiums can vary according to specific situation and the amount of coverage,
and can range from a few thousand dollars for base coverage for small businesses to several
hundred thousand dollars for major corporations with comprehensive coverage. Premiums may
depend on the individual company's security risk exposure and can vary substantially depending
on the insurance provider. For example, the premiums may depend on the number of computers
affected, company level dollar loss distribution, and the timing of the breach event. Premiums
may also depend on the industry the company is operating in. For example, a company operating
in the high-tech area may rely on computers more with more exposure to computer risks, which
leads to a higher premium. A premium may further depend on the elements of the insurance
contract, such as the settlement amount that is paid, the occurrence of the event covered by the
contract, and the time when the settlement is paid.
[0031]         Before issuing a cyber insurance policy, an insurance carrier may require audits
by independent IT security consultants on a case-by case basis, depending on the risks to be
covered and the policy limits sought. To this end, a cyber insurance underwriter may first ask
prospective clients to complete an information security assessment that covers items such as:
standard configurations with security documentation for firewalls, routers, and operating
systems, information security policies, including password management, virus protection,
encryption, and security training for employees, vulnerability monitoring and patch management,
physical security and access controls, including remote access, privacy and confidentiality
policies, backup and restoration provisions, business continuity planning, periodic testing of
security controls, and outsourcing and other third-party security provisions.
[0032]         Various parties of the cyber insurance industry, such as underwriters, agents, and
clients, code writers, inspectors, and vendors of products and services, may interact using
modern insurance information systems. An insurance information system may need wide
functionality, including both traditional tasks of information systems like data processing and
storing and more advanced functions that has been traditionally done by humans such as risk
evaluation.




                                                -8-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 11 of 50

     WO 2016/064919                                                           PCT/US2015/056520




[0033]         These tasks, while may have been sufficiently carried out for traditional insurance
policies, suffer from major drawbacks in the realm of cyber insurance due to proliferation of on-
line cyber attacks that can simultaneously and quickly breach many computer systems, databases
and networks and result in loss of data, compromise of financial, medical or military secrets or
assets. Therefore, there is an urgent need to continuously monitor and predict cyber space
activities and relate those activities to risks to an insured (or insurable) product or service. Using
such a real-time insurance assessment system benefits both the insured and the insurer by
allowing a more accurate and realistic risk assessment to take place, as well as enabling the
insurer to quickly alert the insured of impending attacks or existing security vulnerabilities.
Further, such a system can be used to create offers for clients and make insurance deals online, to
process insurance cases automatically and to automate many other tasks.
[0034]         In various embodiments, the technology determines one or more cyber insurance
policies and/or products based on a company's real-time exposure to a cyber attack on one or
more of its computing assets (e.g., a computer serving company data). The technology performs
various security analysis techniques to explore, locate, and evaluate a company's assets for
creating risk and damage assessments that are used to dynamically determine cyber insurance
policies/products that are tailored to that company at that moment of time and, optionally, based
on future projections. The technology can continuously or semi-continuously monitor the
company's network for any changes to assets and, if changes are detected that could affect the
company's exposure to a cyber attack, information associated with the detected changes is fed
back to aspects of the technology that are configured to determine new/modified cyber insurance
policies/products.
[0035]         In various embodiments, the technology identifies computing assets' (e.g.,
computers, servers, mobile devices, databases, storage technology, cloud infrastructure, network
appliances, intrusion detection systems (IDSs), firewalls, etc.) vulnerabilities that may be used in
a cyber attack for exploiting resources (e.g., consumer data, such as credit card numbers) stored
in or accessible to a company's network(s). Vulnerabilities are identified using various network
security audit standards and technologies, such as the Payment Card Industry Data Security
Standard (PCI DSS), other standard(s) and/or one or more penetration tests for analyzing assets
for various vulnerabilities that may be exploited via internal and/or external cyber attacks.
Security audits, in some embodiments, determine the feasibility of a particular set of real and/or


                                                 -9-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 12 of 50

     WO 2016/064919                                                           PCT/US2015/056520




potential attack vectors, identify higher-risk vulnerabilities that result from a combination of
lower-risk vulnerabilities exploited in a particular sequence, assess the magnitude of potential
business and operational impacts of successful attacks, test the ability of network defenders (e.g.,
security personal, firewalls, IDSs, etc.) to successfully detect and respond to the cyber attacks,
and provide evidence to support increased investments in technology and insurance. Damage
values are assigned to tangible (e.g., theft of credit card numbers) and/or intangible (e.g.,
reputation) losses associated with an occurrence of one or more cyber-attacks which could
successfully exploit an assets' software and/or hardware vulnerabilities.
[0036]         For example, the technology can determine that an asset storing trade secrets and
credit card information has a higher economic damage value than a value associated with a
redundant publically accessible webserver. Damage values are, in various embodiments,
adjusted based on various damage indicators, such as the complexity and/or sophistication
required to execute an exploit, availability of an exploit, a likelihood of the occurrence a cyber-
attack, and/or likelihood of success of a cyber-attack. For example, an asset storing trade secrets
can have an increased damage value if the asset is vulnerable to, e.g., more than one exploit, less
complex exploits, and/or widely known exploits. Based at least on a damage value associated
with an asset, the technology, in some embodiments, is configured to dynamically determine an
amount of insurance for sufficiently insuring against the occurrence of the cyber-attack. In
various embodiments, the technology automatically and periodically performs real-time security
audits to continuously or semi-continuously reassess a company's vulnerability to new cyber
threats and dynamically determine new damage values and, in response, corresponding new
recommendations for insurance coverage.
[0037]         In some embodiments, the technology is a computer program product or service, a
device or a system configured with program code for receiving real-time data indicative of cyber
attacks that are likely to diminish a value of the product or service. For example, the technology
can leverage various databases, websites, the darknet, bit torrents, and/or other networks and data
sources for determining known exploits and/or generate new or modify versions of known
exploits. The program code is configured to process real-time data to compute a real-time
damage assessment associated with losses for an occurrence of one or more cyber attacks. For
example, the damage assessment can be computed using a likelihood of the occurrence of the
one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a


                                                -10-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 13 of 50

     WO 2016/064919                                                              PCT/US2015/056520




measure of severity of damage to the product or service as a result of the occurrence of the one
or more cyber attacks. The program code, in various embodiments, is configured with
technology that determines an insurability rating for the product or service for insuring against
the cyber attacks. The insurability rating is usable for determination of an amount of insurance
that sufficiently insures against the occurrence of the one or more cyber attacks, at least in-part
based on the real-time damage indicator and is changeable in response to changes in the received
real-time data.
[0038]            In various embodiments, the technology determines asset risk assessments, asset
damage assessments, and customer risk assessments. Assessments are snapshots of real-time
asset and/or company behavior based on various indicators and expressed as simple values, such
as a number, percentage, hash, etc. Each asset, in one or more embodiments, is associated with
one or more profiles or other data structures ("profiles") that are associated with indicators that
define asset and/or company characteristics and are used by the technology as variables for
calculating assessment value. For example and as further described below, the technology can
determine that an asset (e.g., a server) has a risk assessment of 8 out of 10 (i.e., 0.8) based on
various indicators in that asset's profile, such as being a public server (i.e., a first indicator)
operating using an older operating system and/or other software products (i.e., a second
indicator) that has known vulnerabilities (i.e., a third indicator). That asset (e.g., the server
described above) is also, in one or more embodiments, associated with a damage assessment,
which is a measure of a company's estimated loss of capital and/or intangible losses (e.g., loss
due to an adverse effect to company reputation) if the asset were compromised by a cyber-attack.
Similar to the determination of the risk assessment, a damage assessment for the server
mentioned above could be, for example, 3 out of 10 (i.e., 0.3) because the server stores lower
valued webpages and, if compromised, would not negatively affect the company's reputation.
By determining respective snapshots associated with risk and damage, the technology can
efficiently and quickly identify, in real-time, assets at most risk of being compromised,
associated losses and, in response, recommend insurance policies based on a company's unique
circumstance and preferences. In some embodiments, multiple risk assessments are combined
into a single meta-value that represents some or all of a company's assessments (e.g., a
company's subsidiaries, different departments, or portions of a network).




                                                  -11-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 14 of 50

     WO 2016/064919                                                           PCT/US2015/056520




[0039]         In some embodiments, a profile is referenced for determining a company risk
assessment, i.e., the level of risk associated with a specific company based on, for example,
various indicators such as an amount of capital the company is willing to invest in cyber
insurance, its risk tolerance, the number of assets to insure, existing security measures (e.g., an
implemented network operating center (NOC), staff, and/or disaster recovery protocols), whether
the company is high profile, the company's business, any history of attacks and their success,
etc. Company risk profiles are automatically and/or manually determined and, in various
embodiments, include a company's threshold tolerance for preventing and/or insuring against a
determined level of financial loss (e.g., up to $2 million USD) as a result of the occurrence of the
cyber-attack on an asset.
[0040]         In one more embodiments, based on one or more indicators of the asset risk
profile, asset damage profile, and/or company risk profile, the technology determines one or
more insurance policies/products specific to the company. In various embodiments, the
technology continuously, or on a schedule, updates the profiles based on changes to the assets or
company (e.g., a new asset is added or an asset is recommissioned, critical data is moved, new
vulnerabilities are discovered, etc.). In response to the changes to one or more of the profiles,
the technology dynamically and automatically determines a new policy tailored to the changed
profiles. This feedback technique allows the company to efficiently and comprehensively
understand, in real time, where it has vulnerabilities and how best to insure against losses.
[0041]         Referring to FIG 1, an exemplary embodiment of the described technology
employs a computer 100, such as a personal computer or workstation, having one or more
processors 101 coupled to one or more user input devices 102 and data storage devices 104. The
computer 100 is also coupled to at least one output device such as a display device 106 and one
or more optional additional output devices 108 (e.g., printer, plotter, speakers, tactile or olfactory
output devices, etc.). The computer 100 may be coupled to external computers, such as via an
optional network connection 110, a wireless transceiver 112, or both.
[0042]         The input devices 102 may include a keyboard, a pointing device such as a
mouse, and described technology for receiving human voice, touch, and/or sight (e.g., a
microphone, a touch screen, and/or smart glasses). Other input devices are possible such as a
joystick, pen, game pad, scanner, digital camera, video camera, and the like. The data storage
devices 104 may include any type of computer-readable media that can store data accessible by


                                                -12-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 15 of 50

    WO 2016/064919                                                           PCT/US2015/056520




the computer 100, such as magnetic hard and floppy disk drives, optical disk drives, magnetic
cassettes, tape drives, flash memory cards, digital video disks (DVDs), Bernoulli cartridges,
RAMs, ROMs, smart cards, etc. Indeed, any medium for storing or transmitting computer-
readable instructions and data may be employed, including a connection port to or node on a
network, such as a LAN, WAN, or the Internet (not shown in FIG. 1).
[0043]         Aspects of the described technology may be practiced in a variety of other
computing environments. For example, referring to FIG. 2, a distributed computing environment
with a network interface includes one or more user computers 202 (e.g., mobile devices,
desktops, servers, etc.) in a system 200, each of which can include a graphical user interface
(GUI) program component (e.g., a thin client component) 204 that permits the user computer 202
to access and exchange data, such as network and/or security data, with a network 206 such as a
LAN or the Internet, including web sites, ftp sites, live feeds, and data repositories within a
portion of the network 206. The user computers 202 may be substantially similar to the
computer described above with respect to FIG. 1. The user computers 202 may be personal
computers (PCs) or mobile devices, such as laptops, mobile phones, or tablets. The user
computers 202 may connect to the network 206 wirelessly or through the use of a wired
connection. Wireless connectivity may include any forms of wireless technology, such as a radio
access technology used in wireless LANs or mobile standards such as 2G/3G/4G/LTE. The user
computers 202 may include other program components, such as a filter component, an operating
system, one or more application programs (e.g., security applications, word processing
applications, spreadsheet applications, or Internet-enabled applications), and the like. The user
computers 202 may be general-purpose devices that can be programmed to run various types of
applications, or they may be single-purpose devices optimized or limited to a particular function
or class of functions. More importantly, any application program for providing a graphical user
interface to users may be employed, as described in detail below. For example, a mobile
application or "app" has been contemplated, such as one used in Apple's® iPhone® or iPad®
products, Microsoft® products, Nokia® products, or Android®-based products.
[0044]         At least one server computer 208, coupled to the network 206, performs some or
all of the functions for receiving, routing, and storing of electronic messages, such as security
data, web pages, audio signals, electronic images, and/or other data. While the Internet is shown,
a private network, such as an intranet, may be preferred in some applications. The network may


                                                -13-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 16 of 50

    WO 2016/064919                                                           PCT/US2015/056520




have a client-server architecture, in which a computer is dedicated to serving other client
computers, or it may have other architectures, such as a peer-to-peer, in which one or more
computers serve simultaneously as servers and clients. A database or databases 210, coupled to
the server computer(s), store some content (e.g., security-related data) exchanged between the
user computers; however, content may be stored in a flat or semi-structured file that is local to or
remote of the server computer 208. The server computer(s), including the database(s), may
employ security measures to inhibit malicious attacks on the system and to preserve the integrity
of the messages and data stored therein (e.g., firewall systems, secure socket layers (SSL),
password protection schemes, encryption, and the like).
[0045]          The server computer 208 may include a server engine 212, a security management
component 214, an insurance management component 216, and a database management
component 218. The server engine 212 performs basic processing and operating system level
tasks. The security management component(s) 214 handle creation, streaming, processing and/or
routing of networking and/or security data. Security management components 214, in various
embodiments, includes other components and/or technology, such as an asset risk component,
asset damage component, company risk component and/or other components and/or assessment
technologies, described below. Users may access the server computer 208 by means of a
network path associated therewith. The insurance management component 216 handles
processes and technologies that support the collection, managing, and publishing of insurance
and/or cyber -related data and information, and other data. The database management
component 218 includes storage and retrieval tasks with respect to the database, queries to the
database, and storage of data. In some embodiments, multiple server computers 208 each having
one or more of the components 212-218 may be utilized. In general, the user computer 202
receives data input by the user and transmits such input data to the server computer 208. The
server computer 208 then queries the database 210, retrieves requested pages, performs
computations and/or provides output data back to the user computer 202, typically for visual
display to the user. Additionally, or alternatively, the user computers 202 may automatically,
and/or based on user computers' 202 settings/preferences, receive various information, such as
alerts, updates, cyber security assessments, cyber security programs, etc., from the server
computer 208.




                                                -14-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 17 of 50

     WO 2016/064919                                                           PCT/US2015/056520




[0046]             FIG. 3A illustrates one example of an asset risk profile 302. An asset risk
profile 302 includes various asset descriptions 304a-304n each having one or more indicators
306 for defining attributes which may affect that asset's risk assessment 308 (e.g., whether the
asset has a high, medium, or low risk rating). For example, Asset A 304a includes various
indicators 306, such as the physical location of the asset, software operating on the asset (e.g., a
version of an operating system, such as a Windows 8®), known vulnerabilities (e.g., a virus or
rootkit active on the asset), unknown or future vulnerabilities (e.g., a yet to be released exploit
that is programmed for the asset's operating system), etc. As an additional example, an asset risk
profile 302 may specify various risk indicators descriptive of the asset's hardware (e.g., an Intel-
based server, 1 Terabyte Western Digital hard drive, vendor-specific network interface card
(NIC)), and/or software/services (e.g., a command shell with super user privileges)), etc. The
technology can determine, at least based on one or more risk assessments 308 (e.g., a value
determined via the technology's implementation of a weighted-value —based algorithm or other
algorithm), a representative multiple of the risk indicators 306. For example, the technology can
determine that an asset with an old version of an operating system having known vulnerabilities
running moderately easy to hack NIC drivers has a high risk assessment value (e.g., 0.95) and a
modern, recently updated asset has a lower risk assessment value (e.g., 0.15).
[0047]         Risk indicators 306 can define virtually any type of information that may affect an
asset's exploitation and values of risk indicators 306 are specific to an asset. In other words,
different assets, e.g., Asset B 304b and Asset n 304n, can have different indicators and/or types
of indicators than the indicators 306 associated with Asset A 304a. As mentioned above, risk
indicators 306 are used by the technology, in one or more embodiments, to determine a risk
assessment 308, based on one or more predetermined algorithms. The risk assessment 308 is a
snapshot of real-time risk to an asset (e.g., Asset A 304a) based on the indicators 306 that, in
some embodiments, are being continuously or semi-continuously updated via new or continuing
security assessments of the company's network. In other words, as assets change (e.g., an asset's
operating system is updated) a new risk assessment 308 is automatically and/or manually
determined.
[0048]         FIG. 3B illustrates one example of an asset damage profile 312 for an asset (e.g.,
Asset 304a). Asset damage profile 312 is associated with damage indicators 316 for each of a
company's assets (e.g., Asset 304a-304n), which may indicate a potential loss (i.e., a tangible or


                                                 -15-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 18 of 50

     WO 2016/064919                                                           PCT/US2015/056520




intangible loss) to a company if the asset (e.g., Asset 304a) were compromised by a cyber attack.
For example, Asset 304a, discussed above in reference to asset risk profile 302, includes various
damage indicators 316 for determining, by the technology, a damage assessment 318, based on
one or more predetermined algorithms. Damage indicators 316 include virtually any information
and any type of information that may affect a loss to a company if the asset (e.g., Asset 304a) is
compromised and can include, for example, a data type indicator representative of the data being
stored (e.g., credit cards, trade secrets or webpages), hardware cost indicator (e.g., the cost of
purchasing new hardware), down time loss indicator, loss indicator associated with company
reputation (e.g., public and/or shareholders), etc. The damage assessment 318 is a snapshot of
real-time damage to a company (e.g., tangible and intangible losses) if a particular asset (e.g.,
Asset A 304a) were to be compromised. In some embodiments, similar to the feedback
technique described for the asset risk profile 302, damage assessments 318 can be continuously
or semi-continuously updated via new or continuing security assessments of the company's
network. In other words, as the network changes (e.g., an asset, such as Asset 304a, switches
from storing financial security information to storing publicly available emails address) a new
damage assessment 308 is determined automatically and/or manually for that asset (e.g., Asset
304a).
[0049]         FIG 3C illustrates one example of a company risk profile 322 for defining various
company attributes and/or preferences, based on one or more various company indicators 326.
The technology, in one or more embodiments, references a company's (e.g., Company A 324a,
Company B 324b, and/or Company n 324n) indicators 326 for determining a company's general
risk, based on factors other than indicators 328, which are specific to a particular asset (e.g.,
Asset A 304a). For example, the technology determines a risk assessment 320 for the company
based on various company indicator's 326 unique to that company, such as the company's public
exposure, profits, global reach, investments, line(s) of business, number and sophistication of
employees/customers/clients, existing security measures implemented by the company, total
number of potentially exploitable assets, history of cyber attacks, etc. Other indicators, such as
company's level of tolerance of a cyber attack and the company's capital investment
commitment for insuring against cyber-attacks are used by the technology in determining one or
more insurance policies/products tailored to the company's situation and preferences.




                                                 -16-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 19 of 50

     WO 2016/064919                                                           PCT/US2015/056520




[0050]         FIG. 4 illustrates one example of an engine 400 used by the technology to
determine and/or recommend to a company one or more cyber insurance policies tailored to that
company's asset, damage and/or company profiles. Engine 400 includes various components
402-410, such as an asset risk profile component 402, an asset damage profile component 404,
and a company risk profile component 406 and other optional component(s) 408 (e.g., other
profiles, algorithms, analysis, feedback, etc.) for determining, by recommendation component
410, one or more cyber insurance polices (e.g., a policy that includes cyber insurance Products 1
and 2). As referenced in the illustration for FIG. 4, the technology determines and/or
recommends one or more insurance policies and/or products based on features of one or more of
the asset risk profile 302 (e.g., a risk assessment 308 and/or risk indicators 306), asset damage
profile 312 (e.g., damage assessment 318 and/or damage indicators 316) and company risk
profile 322 (e.g., company risk assessment 328 and/or company indicators 326). Based on the
one or more features of components 402-408, the technology determines and/or recommends
cyber insurance policies/products by, for example, referencing a database or other data storing
insurance information (e.g., premium, coverage amounts/percentages, terms, etc.) and
calculating, via the recommendation component 410, preferred policies/products for the
company's specific requirements and preferences.
[0051]         One aspect of the disclosed technology relates to a computer-implemented cyber
attack assessment method that includes identifying one or more software vulnerabilities for
exploiting resources on one or more computing devices, assigning a damage value associated
with tangible and intangible losses for an occurrence of one or more cyber attacks exploiting the
one or more software vulnerabilities, and dynamically determining an amount of insurance for
sufficiently insuring against the occurrence of the one or more cyber attacks exploiting the one or
more software vulnerabilities, wherein the amount of insurance is at least based on the damage
value. In some embodiments, such a method further includes periodically determining a new
amount of insurance based on identifying one or more new software vulnerabilities for exploiting
resources on the one or more computing devices.
[0052]         In another aspect of the technology, a computer-readable storage device stores
instructions that, upon execution by a processor of a computing system, cause the computing
system to perform a method for insuring against cyber attacks within a network. The method
includes determining an asset profile for a target asset, and assigning a risk rating to the target


                                                 -17-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 20 of 50

     WO 2016/064919                                                              PCT/US2015/056520




asset, wherein the risk rating is a measure of: (a) vulnerability of the target asset to a present or
future cyber attack and (b) a cost associated with an occurrence of the cyber attack on the target
asset. Such a method further includes identifying a customer risk profile associated with
preventing the occurrence of the cyber attack on the target asset, and dynamically determining
one or more financial instruments for insuring against the occurrence of the cyber attacked on the
target asset, based at least on the risk rating and the customer risk profile.
[0053]         In some embodiments, the asset profile includes characteristics descriptive of
software products and data installed on the target asset. In some embodiments, the customer risk
profile includes a threshold tolerance for preventing a determined level of financial loss as a
result of the occurrence of the cyber attack on the target asset. In some embodiments, the one or
more financial instruments insure against the occurrence of the cyber attack based on the
determined level of financial loss. In some embodiments, the above noted method further
includes dynamically and periodically determining one or more new vulnerabilities and, in
response to determining the one or more new vulnerabilities, assigning a new risk rating and
determining one or more new financial instruments for insuring against an occurrence of a new
cyber attack based on the one or more new vulnerabilities.
[0054]         FIG. 5 illustrates a flow diagram 500 for determining a company's risk of a cyber
attack and recommending a cyber insurance policy based on the determined risk. The flow starts
at 502 and, at 504, the technology determines (e.g., via a security assessment) a network's
vulnerability to cyber-attacks and stores results of the assessment in a assets risk profile 302. At
506, the technology determines one or more asset damage profiles 312 for each of the one or
more assets defined in the asset risk profile 302 and, at 508, in some embodiments, defines
indicators in the customer risk profile 322. If there are additional profiles and/or indicators then,
at 510, the flow returns to 504, 506, and/or 508. Otherwise, the flow continues to 512 where the
technology determines and/or recommends one or more cyber insurance policies/products for
insuring against the possibility of a cyber-attack, based on the results of operations at 504-508.
At 514, if there has been a change to the assets and/or customer preferences, the flow returns to
504, 506, and/or 508. Otherwise, the flow ends at 516. Further description, embodiments and/or
implementations of policies, indicators, and assessments may be found in reference to one or
more of the remaining figures.




                                                 -18-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 21 of 50

    WO 2016/064919                                                           PCT/US2015/056520




[0055]         FIG. 6 illustrates a flow diagram 600 of communications between a
customer/company ("customer") and an insurance company in accordance with an exemplary
embodiment. At 601, a customer provides a customer profile to the insurance company. At 603,
the customer provides an asset profile to the insurance company. At 605, the customer pays the
premium to the insurance company to buy a policy. At 607, the customer reports certain damages
to the insurance company. At 609, the insurance company pays the customer a damage
compensation based on the policy that was purchased as part of operation 605. The insurance
company may perform some verification and damage assessment before paying such damage
compensation at 609.
[0056]         The complexity of the computer related security threats makes it hard for small
companies to have the most updated information and the skills needed to cope with the ongoing
and increasing threats faced every day in the world. Computer security personal are highly
skilled, hard to find, and highly paid. Therefore it is unrealistic for small companies to be able to
maintain the most up to up-to-date defenses against the ever increasing attacks on computer
assets. The insurance company, on the other hand, has to hire the highly skilled computer
security personal to perform the security analysis, to keep updated with the most recent attacks
with new methods. Therefore the insurance company can play a preventive role on behalf of
many small companies by sharing the computer security expertise, developing defense
guidelines, and distributing such defense guidelines and strategies among the insured companies.
In this way, the insurance company can bear, or share with the small companies, the costs
associated with combatting computer security threats while providing better defenses against
new attacks.
[0057]         Referring again to FIG. 6, at 611, the insurance company may distribute
preventive information to the customer so that the customer can be aware of the most recent
attacks and the associated techniques for defending against such attacks. At 613, the customer
provides feedback based on the preventive information received from the insurance company,
where the feedback may include the status report of the implementation results related to the
preventive information distributed by the insurance company.
[0058]         One aspect of the disclosed technology relates to determination of insurability of a
product or service based on real-time cyber activity, which can lead to a determination of an
insurance premium for the product or service. The insurability rating provides a measure as to


                                                -19-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 22 of 50

     WO 2016/064919                                                            PCT/US2015/056520




insurability of the product or service. Examples of products or services include consumer data
(e.g., credit card information, personal information) that is stored on a network-accessible
storage unit, cloud computing resources that are provided to paying customers, social media
services, financial information, financial services, and others. In the context of the disclosed
examples, a high insurability rating is commensurate with having a product or service that is
easily insurable (e.g., there is a lower risk of damage to the product or service), whereas a low
insurability indicates that there is a higher risk of damage to the product or service. It is
however, understood that such an inverse correlation between the insurability rating and damage
risk is merely provided for the sake of illustration, and other relationships (e.g., direct
correlation) can also be used. The insurability rating can be a number or a range of numbers.
For instance, in one implementation, the insurability rating is a number between 0 and 100,
whereas in another implementation, the insurability rating is represented by high (e.g., ratings in
range 80 to 100), medium (e.g., ratings in range 60 to 79) and low (e.g., ratings in range 0 to 59).
[0059]         FIG. 7 illustrates a set of operations 700 that can be carried out to determine
insurability rating for a product or a service in accordance with an exemplary embodiment. The
operations 700 can be implemented using a computing system with network connectivity. Such
a computing system includes a processor (e.g., a hardware implemented processor comprising
electronic circuitry), memory, physical buses and interfaces that allows different components of
the system to communicate with one another and with other devices that are connected to the
computing device through a network. Referring to FIG. 7, at 702, real-time data indicative of
cyber attacks that are likely to diminish a value of the product or service is received at a
processor that is implemented at least in-part by electronic circuitry and coupled to a computer
network. At 704, the real-time data is processed to compute a real-time damage assessment
associated with losses to the product or service in the event of one or more cyber attacks. The
real-time damage assessment can be computed using at least a likelihood of occurrence of the
one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a
measure of severity of damage to the product of service as a result of the occurrence of the one
or more cyber attacks. For example, a higher likelihood of cyber attack, a higher likelihood of
the success of the cyber attack, and a higher severity measure of damage caused by such cyber
attacks, each contribute to a higher computed real-time damage assessment.




                                                 -20-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 23 of 50

    WO 2016/064919                                                           PCT/US2015/056520




[0060]         Referring again to FIG. 7, at 706, an insurability rating for the product or service
is determined. Such an insurability rating can be used to determine an amount of insurance that
sufficiently insures against the occurrence of the one or more cyber attacks. The insurability
rating is determined at least in-part based on the real-time damage assessment and is changeable
in response to changes in the received real-time data.
[0061]         The insurability rating can be used to produce an insurance premium value for the
product or service. Such an insurance premium can also be affected by other factors, such as the
length of relationship between the insurer and the organization or person that is seeking
insurance (the "insured"), the insurance premiums offered by other insurers, existence of other
insurance polices for the product or service, discounts based on the number of other products or
services that are insured by the same insurer, and other factors.
[0062]         One of the advantages of the disclosed technology relates to the use of real-time
data that allows dynamic and up-to-date computation of the damage assessment based on cyber
activities that are being continuously monitored. For instance, in one exemplary implementation,
the real-time damage assessment is computed on an on-going basis based on changes in the real-
time data with a time granularity of 1 micro second or less. Thus, through, for example,
monitoring world-wide attacks on particular assets or organizations, the damage assessment can
be updated almost instantaneously to allow certain mitigating actions to be triggered. A number
or a range of numbers can represent the damage assessment. For instance, in one
implementation, the damage assessment is a number between 0 and 100, whereas in another
implementation, the damage assessment is represented by a set of three numbers indicative of
high (e.g., ratings in range 80 to 100), medium (e.g., ratings in range 60 to 79) and low (e.g.,
ratings in range 0 to 59) values of the real-time damage assessment.
[0063]         In one implementation, the real-time damage assessment is computed by an
algorithm that uses a weighted average technique. This technique assigns a first weight to an
indicator representative of a likelihood of the occurrence of the one or more cyber attacks,
assigns a second weight to an indicator representative of a the likelihood of success of the one or
more cyber attacks, and a third weight to an indicator representative of the measure of severity of
damage to the product of service. The weights can be indicative of the importance of each of the
associated indicators of likelihood and/or measure. Further, each of the likelihood of the
occurrence of the one or more cyber attacks, the likelihood of success of the one or more cyber


                                                -21-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 24 of 50

     WO 2016/064919                                                           PCT/US2015/056520




attacks, and the measure of severity of damage to the product of service can be determined using
historical information associated with previously launched cyber attacks against the products or
the service.
[0064]         The historical information is typically obtained based on attacks, damages and
success rates of previous cyber attacks. For example, the historical information can include a
number of previous cyber attacks against the product or service, a rate of success of previous
cyber attacks against the product or service, an amount of damage to the service or product
caused by the previous cyber attack(s), or a frequency of occurrence of cyber attacks against
other entities that offer products or services that are similar to the product and service. In one
example, the damage caused by breach of financial data at one financial instruction is used to
produce a measure of damage for another financial institution. The disclosed technology enables
the likelihood of a cyber attack to be produced by analyzing the patterns of cyber activity over a
large number of data networks, which can all be carried out in real-time as those evolve over
time.
[0065]         The damage assessment can be used to compute the insurability rating. In one
example, computation of the insurability rating includes processing the real-time damage
assessment over a pre-determined time interval and then determining a statistical value
associated with several of the insurability rating values over that pre-determined time interval.
An example of the statistical value is an average of several insurability rating values over the
pre-determined time interval. In one variation, the statistical value is a weighted average of the
plurality of insurability rating values over the pre-determined time interval. In this scenario, the
weights can be assigned or determined using different techniques that would allow easy
adaptation and correlation to the changes in the real-time data. For example, in computing the
average value, insurability rating values that correspond to later time instances within the
predetermined time interval are given a larger weight compared to the insurability rating values
that correspond to earlier time instances within the predetermined time interval.
[0066]         The choice of the pre-determined time interval is often left to the designer of the
system and can be based on system capabilities and recourses, observed time-dependence of
cyber activity patterns, importance of the product or service, and other factors. For example, the
time interval can be set to be one hour, one day, one week or one month. The pre-determined
time interval can also be set to an initial value, and can then be changed based on changes in the


                                                -22-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 25 of 50

     WO 2016/064919                                                             PCT/US2015/056520




system resources, cyber activity patterns, customer requests, or other factors. It should be noted
that in some instances it might be beneficial to compute more than one insurability rating so as to
ascertain a trend in insurability rating over time, or for other reasons that facilitate the
determination of the proper premium. For example, both a short-term and a long-term
insurability rating can be computed, with the short-term insurability rating spanning a time
period in the range of, e.g., one hour to one day, and the long-term insurability corresponding to
a time period that is, e.g., greater than one day and up to one month.
[0067]          In some implementations, the insurability rating is determined based in-part on
the existing cybersecurity countermeasures that are being deployed to protect computers,
networks or storage units that participate in storage, production or distribution of the product or
service. Examples of such cyber security countermeasures include firewalls, anti-virus software,
system alerts, fail-safe measures that, for example, limit the amount of loss to the product or
service (e.g., cash withdrawal limits), biometric authorization protections and others
administrative or physical security measures. In some implementations, the insurability rating is
modified dynamically based on changes in cybersecurity countermeasures that are deployed to
protect the assets. For example, upon a detection that deployed anti-virus software has expired
or has become outdated, the insurability rating can correspondingly change to reflect a higher
risk to the asset.
[0068]          As noted in connection with operation 611 of FIG. 6, certain information and/or
cyber security countermeasures can be shared with an insured party upon a determination that
indicates an elevated cyber security risk. For example, one or more of the following can be
shared with an entity that is interested in obtaining or maintaining insurance coverage for the
product or service: information regarding the real-time damage, information regarding the
likelihood of the occurrence of the one or more cyber attacks, information regarding the
likelihood of success of the one or more cyber attacks, information regarding the measure of
severity of damage to the product of service as a result of the occurrence of the one or more
cyber attacks, a recommendation for obtaining additional cybersecurity countermeasures, or a
particular cybersecurity countermeasure.
[0069]          FIG. 8 illustrates some of the components of a device 800 that can operate to
produce an insurability rating in accordance with an exemplary embodiment. The device 800
includes an input port 802 and an output port 804 that allow the device 800 to receive/send data,


                                                  -23-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 26 of 50

     WO 2016/064919                                                          PCT/US2015/056520




commands or other signal from/to an outside entity. For example, the input port 802 or the
output port 804 can be a serial port, parallel port, a USB port, a wireless connectivity port, an
Ethernet port, or other types of input/output ports that are known in the art. In some
implementations, the input port 802 and output port 804 may be part of communication
component that provide wired and/or wireless communication capabilities in accordance with
one or more communication protocols, and therefore they may comprise the proper
transmitter/receiver, antennas, circuitry and ports, as well as the encoding/decoding capabilities
that may be necessary for proper transmission and/or reception of data and other information.
[0070]         The device 800 in FIG. 8 also includes a processor 812 and memory 810 that are
in communication with each other and with other components of the device through, for
example, busses, optical interconnects, wireless connections or other means of connectivity that
allow the exchange of data and control signals. The processor 812 can, for example, be a
microprocessor, a controller or other processing device that is known in the art. The memory
810 can be used to permanently or temporarily (e.g., as in a buffer) store data, program code,
parameters or other information that can be used to configure and/or operate the device 800 or
the components therein. The device 800 also includes a damage assessment computation
component 806, which is coupled to the input port 802 and is configured to receive data on an
on-going basis (e.g., real-time data indicative of cyber activity) and compute a real-time damage
assessment associated with losses to the product or service in the event of one or more cyber
attacks.
[0071]         The damage assessment computation component 806 can include sub-components
(not shown) that parse the data received from the input port 802 or other device components, and
route the appropriate data to other subcomponents (not shown) of the damage assessment
computation component 806. For example, a routing subcomponent (not shown) can sift the
incoming data to identify and route the following types of data to an aggregation subcomponent:
data indicative of a likelihood of the occurrence of the one or more cyber attacks, data a
likelihood of success of the one or more cyber attacks, and data indicative of a measure of
severity of damage to the product of service as a result of the occurrence of the one or more
cyber attacks. The damage assessment computation component 806 can also include one or
more subcomponents (e.g., an aggregation subcomponent) that are configured to assign weights,
compute averages, and modify data to determine a damage assessment value or values.


                                                -24-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 27 of 50

    WO 2016/064919                                                           PCT/US2015/056520




[0072]         The device 800 also includes an insurability rating computation component 808
that is coupled to the damage assessment computation component 806 and is configured to
receive a damage assessment value or values and to determine an insurability rating for the
product or service that is usable for determination of an amount of insurance that sufficiently
insures against the occurrence of the one or more cyber attacks. The insurability rating
computation component 808 is configured to receive the damage assessment values on a real-
time basis and use them to produce and update insurability ratings in response to changes in the
real-time data. The insurability rating computation component 808 can also include
subcomponent (not shown) that are configured to assign weights, compute averages, and modify
data to determine the insurability rating. The insurability ratings can be communicated to outside
components (not shown) using the output port 804. Examples of those outside components
include a monitor, a storage device (e.g., RAM, Optical or Magnetic disks, etc.), a printer and a
networked computing device.
[0073]         It should be noted that to avoid clutter, FIG. 8 might not show all of the
components of the device 800, or all connections between the device components. For example,
in instances where data compression is used to reduce the storage and transmission bandwidth of
data that is received and processed by device 800, the device 800 may include components that
are configures to decompress and decompress the data based on the specific
compression/decompression algorithms (e.g., LZV, Run Length Encoding, PKZip, etc.).
Similarly, in instances where data encryption is used to ensure the security of data (e.g., for the
external data received by the device 800, data transmitted by the device 800 to outside devices,
or data stored in memory 810), the device 800 may include components that are configured to
encrypt and decrypt the data based on specific algorithms (e.g., DES, 3DES, AES, RSA, etc.). In
some embodiments, the processor 812 can execute program code that is stored memory (e.g., in a
portion of memory 810) to carry out certain operations, such as data compression/decompression
or data encryption/decryption.
[0074]         The device 800 that is depicted in FIG. 8 is one example device that can be
configured for generating insurability ratings for a product or service. Such a device includes a
first input port coupled to a network communication channel to receive real-time data indicative
of cyber attacks that are likely to diminish a value of the product or service. The device also
includes a damage assessment computation component that is implemented at least in-part using


                                                -25-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 28 of 50

    WO 2016/064919                                                           PCT/US2015/056520




electronic circuits. The damage assessment computation component is coupled to the first input
port to receive the real-time data and compute a real-time damage assessment measure associated
with losses to the product or service due to occurrence of one or more cyber-attacks. The
damage assessment is computed using at least a likelihood of occurrence of the one or more
cyber attacks, a likelihood of success of the one or more cyber attacks, and a measure of severity
of damage to the product of service as a result of the occurrence of the one or more cyber attack.
The device also includes an insurability rating computation component that is implemented at
least in-part using electronic circuits and coupled to the damage assessment computation
component. The insurability rating computation component is configured to receive the real-
time damage indictor computed by the damage assessment computation component and to
determine an insurability rating for the product or service that is usable for determination of an
amount of insurance that sufficiently insures against the occurrence of the one or more cyber
attacks. The insurability rating is determined at least in-part based on the real-time damage
assessment and is changeable in response to changes in the received real-time data.
[0075]         The components or modules that are described in connection with the disclosed
embodiments can be implemented as hardware, software, or combinations thereof. For example,
a hardware implementation can include discrete analog and/or digital circuits that are, for
example, integrated as part of a printed circuit board. Alternatively, or additionally, the
disclosed components or modules can be implemented as an Application Specific Integrated
Circuit (ASIC) and/or as a Field Programmable Gate Array (FPGA) device. Some
implementations may additionally or alternatively include a digital signal processor (DSP) that is
a specialized microprocessor with an architecture optimized for the operational needs of digital
signal processing associated with the disclosed functionalities of this application.
[0076]         FIG. 9 illustrates a block diagram of a device 900 that can be implemented as part
of the disclosed devices and systems. The device 900 comprises at least one processor 904
and/or controller, at least one memory 902 unit that is in communication with the processor 904,
and at least one communication unit 906 that enables the exchange of data and information,
directly or indirectly, through the communication link 908 with other entities, devices, databases
and networks. The communication unit 906 may provide wired and/or wireless communication
capabilities in accordance with one or more communication protocols, and therefore it may
comprise the proper transmitter/receiver, antennas, circuitry and ports, as well as the


                                                -26-
         Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 29 of 50

     WO 2016/064919                                                              PCT/US2015/056520




encoding/decoding capabilities that may be necessary for proper transmission and/or reception of
data and other information. The exemplary device 900 of FIG. 9 may be integrated as part of
any devices or components to perform any of the disclosed methods.
[0077]         Various embodiments described herein are described in the general context of
methods or processes, which may be implemented in one embodiment by a computer program
product, embodied in a computer-readable medium, including computer-executable instructions,
such as program code, executed by computers in networked environments. A computer-readable
medium may include removable and non-removable storage devices including, but not limited to,
Read Only Memory (ROM), Random Access Memory (RAM), compact discs (CDs), digital
versatile discs (DVD), Blu-ray Discs, etc. Therefore, the computer-readable media described in
the present application include non-transitory storage media. Generally, program modules may
include routines, programs, objects, components, data structures, etc. that perform particular
tasks or implement particular abstract data types. Computer-executable instructions, associated
data structures, and program modules represent examples of program code for executing steps of
the methods disclosed herein. The particular sequence of such executable instructions or
associated data structures represents examples of corresponding acts for implementing the
functions described in such steps or processes.
[0078]         While this document contains many specifics, these should not be construed as
limitations on the scope of an invention that is claimed or of what may be claimed, but rather as
descriptions of features specific to particular embodiments. Certain features that are described in
this document in the context of separate embodiments can also be implemented in combination
in a single embodiment. Conversely, various features that are described in the context of a single
embodiment can also be implemented in multiple embodiments separately or in any suitable sub-
combination. Moreover, although features may be described above as acting in certain
combinations and even initially claimed as such, one or more features from a claimed
combination can in some cases be excised from the combination, and the claimed combination
may be directed to a sub-combination or a variation of a sub-combination. Similarly, while
operations are depicted in the drawings in a particular order, this should not be understood as
requiring that such operations be performed in the particular order shown or in sequential order,
or that all illustrated operations be performed, to achieve desirable results.




                                                  -27-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 30 of 50

     WO 2016/064919                                                           PCT/US2015/056520




WHAT IS CLAIMED IS:



1.         A method for producing insurability ratings for a product or service, the method
comprising:
           receiving, at a processor that is implemented at least in-part by electronic circuitry and
coupled to a computer network, real-time data indicative of cyber attacks that are likely to
diminish a value of the product or service;
           using the processor to process the real-time data to compute a real-time damage
assessment associated with losses to the product or service due to occurrence of one or more
cyber-attacks, the damage assessment computed using at least a likelihood of the occurrence of
the one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a
measure of severity of damage to the product of service as a result of the occurrence of the one
or more cyber attacks; and
           using the processor to determine an insurability rating for the product or service that is
usable for determination of an amount of insurance that sufficiently insures against the
occurrence of the one or more cyber attacks, wherein the insurability rating is determined at least
in-part based on the real-time damage assessment and is changeable in response to changes in the
received real-time data.


2.         The method of claim 1, further comprising using the insurability rating to produce an
insurance premium value for the product or service.


3.         The method of claim 1, wherein the real-time damage assessment is computed on an
on-going basis based on changes in the real-time data with a time granularity of 1 micro second
or less.


4.         The method of claim 1, wherein the insurability rating is produced at least in-part by:
           processing the real-time damage assessment over a pre-determined time interval and
determining a statistical value associated with a plurality of insurability rating values over the
pre-determined time interval.



                                                -28-
          Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 31 of 50

      WO 2016/064919                                                          PCT/US2015/056520




5.          The method of claim 4, wherein the statistical value is an average of the plurality of
insurability rating values over the pre-determined time interval.


6.          The method of claim 4, wherein the statistical value is a weighted average of the
plurality of insurability rating values over the pre-determined time interval, and wherein
insurability rating values that correspond to later time instances within the predetermined time
interval are assigned a larger weight compared to insurability rating values that correspond to
earlier time instances within the predetermined time interval.


7.          The method of claim 4, wherein the pre-determined time interval is one of: one hour,
one day, one week or one month.


8.          The method of claim 1, further comprising determining at least one additional
insurability rating based on the real-time data, wherein one of the insurability rating or the
additional insurability rating corresponds to a short-term insurability rating, and the other of the
insurability rating or the additional insurability rating corresponds to a long-term insurability
rating.


9.          The method of claim 8, wherein the short-term insurability rating corresponds to a
time period ranging from one hour to one day, and wherein the long-term insurability rating
corresponds to a time period that is greater than one day and up to one month.


10.         The method of claim 1, wherein the real-time damage assessment is computed using a
weighted average technique that assigns a first weight to the likelihood of occurrence of the one
or more cyber attacks, a second weight to the likelihood of success of the one or more cyber
attacks, and a third weight to the measure of severity of damage to the product of service.


11.         The method of claim 1, wherein each of the likelihood of occurrence of the one or
more cyber attacks, the likelihood of success of the one or more cyber attacks, and the measure
of severity of damage to the product of service is determined using historical information
associated with previously launched cyber attacks against the product or the service.


                                                 -29-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 32 of 50

      WO 2016/064919                                                           PCT/US2015/056520




12.        The method of claim 11, wherein the historical information includes one or more of: a
number of previous cyber attacks against the product or service, a rate of success of previous
cyber attacks against the product or service, an amount of damage to the service or product
caused by a previous cyber attack, or a frequency of occurrence of cyber attacks against other
entities that offer products or services that are similar to the product and service.


13.        The method of claim 1, wherein the likelihood of occurrence of the one or more cyber
attacks is produced by analyzing data associated with patterns of cyber activity over a plurality
of data networks in real-time.


14.        The method of claim 13, wherein the patterns of cyber activity are indicative of cyber
attacks on other organizations with network connectivity.


15.        The method of claim 1, wherein the insurability rating is determined using an inverse
proportionality relationship with respect to the real-time damage assessment.


16.        The method of claim 1, wherein the insurability rating is determined based in-part on
existing cybersecurity countermeasures that are deployed to protect computers, networks or
storage units that participate in storage, production or distribution of the product or service.


17.        The method of claim 16, wherein the insurability rating is modified based on changes
in the cybersecurity countermeasures deployed to protect computers, networks or storage units
that participate in storage, production or distribution of the product or service.


18.        The method of claim 1, further comprising providing one or more of the following to
an entity that is interested in obtaining or maintaining insurance coverage for the product or
service:
           information regarding the real-time damage,
           information regarding the likelihood of occurrence of the one or more cyber attacks,
           information regarding the likelihood of success of the one or more cyber attacks,


                                                 -30-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 33 of 50

      WO 2016/064919                                                         PCT/US2015/056520




           information regarding the measure of severity of damage to the product of service as a
result of the occurrence of the one or more cyber attacks,
           a recommendation for obtaining additional cybersecurity countermeasures, or
           a particular cybersecurity countermeasure.


19.        A computer program product, embodied on one or more non-transitory computer
media, comprising:
           program code for receiving real-time data from a computer network at a processor that
is implemented at least in-part by electronic circuitry, the real-time data indicative of cyber
attacks that are likely to diminish a value of the product or service;
           program code for processing by the processor the real-time data to compute real-time
damage assessment associated with losses to the product or service due to occurrence of one or
more cyber-attacks, the damage assessment computed using at least a likelihood of occurrence of
the one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a
measure of severity of damage to the product of service as a result of the occurrence of the one
or more cyber attacks; and
           program code for determining by the processor an insurability rating for the product or
service that is usable for determination of an amount of insurance that sufficiently insures against
the occurrence of the one or more cyber attacks, wherein the insurability rating is determined at
least in-part based on the real-time damage assessment and is changeable in response to changes
in the received real-time data.


20.        The computer program product of claim 19, further comprising program code for
producing an insurance premium value for the product or service using the insurability rating.


21.        The computer program product of claim 19, wherein the real-time damage assessment
is computed on an on-going basis based on changes in the real-time data with a time granularity
of 1 micro second or less.


22.        The computer program product of claim 19, wherein the insurability rating is produced
at least in-part by:


                                                -31-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 34 of 50

      WO 2016/064919                                                          PCT/US2015/056520




              processing the real-time damage assessment over a pre-determined time interval and
determining a statistical value associated with a plurality of insurability rating values over the
pre-determined time interval.


23.           The computer program product of claim 22, wherein the statistical value is an average
of the plurality of insurability rating values over the pre-determined time interval.


24.           The computer program product of claim 22, wherein the statistical value is a weighted
average of the plurality of insurability rating values over the pre-determined time interval, and
wherein an insurability rating value that corresponds to a later time instance within the
predetermined time interval is assigned a larger weight compared to an insurability rating value
that corresponds to an earlier time instance within the predetermined time interval.


25.           The computer program product of claim 22, wherein the pre-determined time interval
is one of: one hour, one day, one week or one month.


26.           The computer program product of claim 19, further comprising program code for
determining at least one additional insurability rating based on the real-time data, wherein one of
the insurability rating or the additional insurability rating corresponds to a short-term insurability
rating, and the other of the insurability rating or the additional insurability rating corresponds to a
long-term insurability rating.


27.           The computer program product of claim 26, wherein the short-term insurability rating
corresponds to a time period ranging from one hour to one day, and wherein the long-term
insurability rating corresponds to a time period that is greater than one day and up to one month.


28.           The computer program product of claim 19, wherein the real-time damage assessment
is computed using a weighted average technique that assigns a first weight to the likelihood of
occurrence of the one or more cyber attacks, a second weight to the likelihood of success of the
one or more cyber attacks, and a third weight to the measure of severity of damage to the product
of service.


                                                 -32-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 35 of 50

      WO 2016/064919                                                          PCT/US2015/056520




29.        The computer program product of claim 19, wherein each of the likelihood of
occurrence of the one or more cyber attacks, the likelihood of success of the one or more cyber
attacks, and the measure of severity of damage to the product of service is determined using
historical information associated with previously launched cyber attacks against the product or
the service.


30.        The computer program product of claim 29, wherein the historical information
includes one or more of: a number of previous cyber attacks against the product or service, a rate
of success of previous cyber attacks against the product or service, an amount of damage to the
service or product caused by a previous cyber attack, or a frequency of occurrence of cyber
attacks against other entities that offer products or services that are similar to the product and
service.


31.        The computer program product of claim 19, wherein the likelihood of occurrence of
the one or more cyber attacks is produced by analyzing data associated with patterns of cyber
activity over a plurality of data networks in real-time.


32.        The computer program product of claim 31, wherein the patterns of cyber activity
include indications of cyber attacks on organizations with network connectivity.


33.        The computer program product of claim 19, wherein the insurability rating is
determined using an inverse proportionality relationship with respect to the real-time damage
assessment.


34.        The computer program product of claim 19, wherein the insurability rating is
determined based in-part on existing cybersecurity countermeasures that are deployed to protect
computers, networks or storage units that participate in storage, production or distribution of the
product or service.




                                                 -33-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 36 of 50

      WO 2016/064919                                                            PCT/US2015/056520




35.          The computer program product of claim 34, wherein the insurability rating is modified
based on changes in the cybersecurity countermeasures deployed to protect computers, networks
or storage units that participate in storage, production or distribution of the product or service.


36.          The computer program product of claim 19, further comprising program code using
the computer network for providing one or more of the following to an entity for obtaining or
maintaining insurance coverage for the product or service:
             information regarding the real-time damage,
             information regarding the likelihood of occurrence of the one or more cyber attacks,
             information regarding the likelihood of success of the one or more cyber attacks,
             information regarding the measure of severity of damage to the product of service as a
result of the occurrence of the one or more cyber attacks,
             a recommendation for obtaining additional cybersecurity countermeasures, or
             a particular cybersecurity countermeasure.


37.          A device, comprising:
             a processor implemented using electronic circuitry; and
             a memory comprising processor executable code, the processor executable code, when
executed by the processor, causes the device or the components of the device to:
             receive real-time data indicative of cyber attacks that are likely to diminish a value of
the product or service;
             process the real-time data to compute a real-time damage assessment associated with
losses to the product or service due to occurrence of one or more cyber-attacks, the damage
assessment computed using at least a likelihood of occurrence of one or more cyber attacks, a
likelihood of success of the one or more cyber attacks, and a measure of severity of damage to
the product of service as a result of the occurrence of the one or more cyber attacks; and
             determine an insurability rating for the product or service that is usable for
determination of an amount of insurance that sufficiently insures against the occurrence of the
one or more cyber attacks, wherein the insurability rating is determined at least in-part based on
the real-time damage assessment and is changeable in response to changes in the received real-
time data.


                                                  -34-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 37 of 50

      WO 2016/064919                                                          PCT/US2015/056520




38.        A device for generating insurability ratings for a product or service, comprising:
           a first input port coupled to a network communication channel to receive real-time
data indicative of cyber attacks that are likely to diminish a value of the product or service;
           a damage assessment computation component that is implemented at least in-part
using electronic circuits, the damage assessment computation component coupled to the first
input port to receive the real-time data and compute a real-time damage assessment measure
associated with losses to the product or service due to occurrence of one or more cyber-attacks,
the damage assessment computed using at least a likelihood of occurrence of the one or more
cyber attacks, a likelihood of success of the one or more cyber attacks, and a measure of severity
of damage to the product of service as a result of the occurrence of the one or more cyber attack;
and
           an insurability rating computation component that is implemented at least in-part using
electronic circuits and coupled to the damage assessment computation component, the
insurability rating computation component to receive the real-time damage indictor computed by
the damage assessment computation component and to determine an insurability rating for the
product or service that is usable for determination of an amount of insurance that sufficiently
insures against the occurrence of the one or more cyber attacks, wherein the insurability rating is
determined at least in-part based on the real-time damage assessment and is changeable in
response to changes in the received real-time data.


39.        A system for determining insurability rating of a service or product, comprising:
           a server device coupled to a computer network to receive real-time data indicative of
cyber attacks that are likely to diminish a value of the product or service and to produce an
insurance premium estimate based at least in-part on the received real-time data;
           a client device coupled the computer network to receive the insurance premium
estimate produced by the server device, wherein:
               the server device uses the real-time data to compute a real-time damage
assessment associated with losses to the product or service due to occurrence of one or more
cyber-attacks, the damage assessment computed using at least a likelihood of occurrence of the
one or more cyber attacks, a likelihood of success of the one or more cyber attacks, and a


                                                -35-
       Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 38 of 50

    WO 2016/064919                                                           PCT/US2015/056520




measure of severity of damage to the product of service as a result of the occurrence of the one
or more cyber attacks, and
               the sever device determines an insurability rating for the product or service that is
usable for determination of an amount of insurance that sufficiently insures against the
occurrence of the one or more cyber attacks, the insurability rating determined at least in-part
based on the real-time damage assessment and is changeable in response to changes in the
received real-time data.




                                               -36-
      Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 39 of 50




                                                                                             616t90/910ZOM
                        110                                            112

                       L )                                          C)
           Network                                       Wireless
          Connection                                    Transceiver

                 r                                           i—
                 1                                           I
                 L

                                          .....7' 101

                              Processor




100                                                                                    r
                               Data
         Input                                                    Display     Output
                              Storage
        Device                                                    Device      Device
                              Device


                                                                      Ll
                                                                        106
                 102                    104                                            108




                                                                                                OZS9SO/SIOZSI1IIDd
                                     FIG. 1
             Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 40 of 50




                                                                                                 616t90/910ZOM
202 I
    User Computer
                                                             206
204
           Browser

       1
                                              Public
                                            Computer
                                             Network
                                          (e.g., Internet)
                                                                                         - 208
                                                                     Server Computer J


                                                                                         - 212
                                                                      Server Engine J

                                                                                         - 214
                                                210
                                                                      Security Mgmt. J
             200 ------Vr
                                                                                      j- 216
                                                                      Content Mgmt.




                                                                                                    OZS9SO/SIOZSI1IIDd
                                                                                         - 218
                                                                      Database Mgmt. J



                                        FIG. 2
                                  Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 41 of 50




                      Asset Risk Profile 302




                                                                                                                       616t90/910ZOM
CO
0
                     L:1)   Asset A: 304a
 8                           • Location (Public-Internet/Private-LAN/DMZ)
                             • Operating Sys (version, etc.)
                             • Known vulnerabilities (existing exploits)
                             • Future vulnerabilities (likelihood based on historical analysis-window 75% than Linux
                             • etc.
                             • Risk Assessment 308


                      0 Asset B 304b
                        I .

                      ® Asset n      304n                                                        FIG. 3A

                        Asset Damage Profile 312
   316
Damage Ind icators




                      O Asset A 304a
                         • Data stored (credit card vs. webpages)
                         • Hardware (failovers operational?)
                         • Down time




                                                                                                                          OZS9SO/SIOZSI1IIDd
                         • Reputation (and other intangibles)
                         • etc.
                         • Damage Assessment
                        0 Asset B304b
                                                                                                  FIG. 3B
                        C) Asset n 304n
              Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 42 of 50




                                                                                               616t90/910ZOM
         Company Risk Profile(s) 322


co     0 Company A: 324a
c\I
co       • Capital Investment (how much do they want to spend?)
e        • Risk tolerance (low, med, high—it's a subject based on customer)
o
co       • # of assets
c..)     • # of security measures (do they have a NOC/security team/Disaster Recovery Plan?)
c
_        • # of employees (could be an internal attack)
         • Public vs. Private Co. (are they high profile)
cu       • Line of business (Big Co. vs. Small Co.)
0_
         • History of Attacks
o
0        • etc.
         . Company Risk Assessment 328

         0 Company B: 324b
                • • •




                                                                                                  OZS9SO/SIOZSI1IIDd
         0 Company n: 324c
                                                                         FIG. 3C
            Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 43 of 50




                                                                                                   616t90/910ZOM
                               Recommendation Engine     400


                                                          Other(s)              Recommendation
  Asset             Asset                                 -Component(s)         Component (e.g.,
                                        Company
   Risk            Damage                                 -Profile(s)              Policy A —
                                         Profile
  Profile           Profile                               -Algorithm(s)          Product 1 and
                                       Component
Component         Component                               -Analysis                Product 2)
                                                          -Feedback                  410
   402                404                  406                 408




                                       FIG. 4




                                                                                                      OZS9SO/SIOZSI1IIDd
 Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 44 of 50

WO 2016/064919                                       PCT/US2015/056520



                                  6 / 10


                                                             500
                                 Start
                                 502




                         Determine Customer
                              Prof le(s)
                                508




                           Determine other
                 Yes
                         profile(s), indicators,
                           algorithms, etc.
                                  510




                             Recommend
                              Product(s)
                                 512




                          Change to profile?




                                           No


                                  End
                                  516

                                                      FIG. 5
 Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 45 of 50

WO 2016/064919                                                 PCT/US2015/056520



                                  7 / 10




                                                              600




   (Customer                                                    Insurance
                                                                company
                                                         (


                     601 Customer profile


                   603 Asset profile

                         605 Premium
                            607 re oft damage


                     609 Damage compensati




                          611 Preventive information


                                 613 feedback to preventive
                                        information




                               FIG. 6
 Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 46 of 50

WO 2016/064919                                                            PCT/US2015/056520



                                          8 / 10




                  Receive, at a processor that is implemented at least
                    in-part by electronic circuitry and coupled to a
                 computer network, real-time data indicative of cyber
                   attacks that are likely to diminish a value of the
                                   product or service
                                           702



                                           V
                   Process the real-time data to compute a real-time
                   damage assessment associated with losses to the
                 product or service due to occurrence of one or more
                   cyber attacks, the damage assessment computed
                  using at least a likelihood of occurrence of the one
                 or more cyber attacks, a likelihood of success of the
                 one or more cyber attacks, and a measure of severity
                 of damage to the product of service as a result of the
                     occurrence of the one or more cyber attacks
                                           704



                                            V
                  Determine an insurability rating for the product or
                 service that is usable for determination of an amount
                    of insurance that sufficiently insures against the
                      occurrence of the one or more cyber attacks,
                 wherein the insurability rating is determined at least
                   in-part based on the real-time damage assessment
                    and is changeable in response to changes in the
                                 received real-time data
                                           706




                                       FIG. 7
 Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 47 of 50

WO 2016/064919                                          PCT/US2015/056520



                                   9 / 10




   r
                                 Device
                                  800
       Input                                             Output
        Port                                              Port
        802         Damage Assessment                     804
                   Computation Component
                            806



                      \/
                 Insurability Rating
                    Computation
                    Component
                        808




                      Memory                Processor
                       810                     812

   L


                                FIG. 8
 Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 48 of 50

WO 2016/064919                                        PCT/US2015/056520



                                  10 / 10




                      Device
                       900



                     Memory
                      902




                     \/

                    Processor
                       904


                     /-\

                     \/

                  Communication
                      906
                                             1 Communication
                                                   Link
                                                   908




                                FIG. 9
                Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 49 of 50


                           INTERNATIONAL SEARCH REPORT                                                          International application No.
                                                                                                                 PCT/US2015/056520
 A.         CLASSIFICATION OF SUBJECT MATTER
  GO6Q 40/08(2012.01)1


 According to International Patent Classification (IPC) or to both national classification and IPC
 B.         FIELDS SEARCHED
 Minimum documentation searched (classification system followed by classification symbols)
 GO6Q 40/08; GO6F 17/30; GO6F 17/60; GO6Q 40/00; GO6F 21/00


 Documentation searched other than minimum documentation to the extent that such documents are included in the fields searched
  Korean utility models and applications for utility models
  Japanese utility models and applications for utility models


 Electronic data base consulted during the international search (name of data base and, where practicable, search terms used)
  eKOMPASS(KIPO internal) & Keywords: cyber, attack, real-time, damage, assessment, insurability, rating, insurance, premium



 C.        DOCUMENTS CONSIDERED TO BE RELEVANT

 Category*              Citation of document, with indication, where appropriate, of the relevant passages                          Relevant to claim No.

      Y         US 2009-0024663 Al (MARK D. MCGOVERN) 22 January 2009                                                                         1-39
                See abstract, paragraphs [0019]-[0062], claims 1, 9 and figures 1-5.

      Y         US 2009-0024627 Al (NIGEL KING) 22 January 2009                                                                               1-39
                See abstract, paragraphs [0013]-[0017], [0053], claim 18 and figure 1.

      A         US 2014-0081671 Al (ANDREAS SCHAAD) 20 March 2014                                                                             1-39
                See abstract, claims 1, 8-9 and figures 1-4.

      A         US 8494955 B2 (JOHN S. QUARTERMAN et al.) 23 July 2013                                                                        1-39
                See abstract, claims 1-5 and figure 1.

      A         US 2014-0142988 Al (HARTFORD FIRE INSURANCE COMPANY) 22 May 2014                                                              1-39
                See abstract, claims 1-4 and figure 1.

      A         JP 2002-083121 A (ZEON JOHO SYSTEM K.K.) 22 March 2002                                                                        1-39
                See abstract, claims 1-2 and figures 1-2.




           Further documents are listed in the continuation of Box C.                  Z See patent family annex.

*    Special categories of cited documents:                                     "T" later document published after the international filing date or priority
"A" document defining the general state of the art which is not considered          date and not in conflict with the application but cited to understand
    to be of particular relevance                                                   the principle or theory underlying the invention
"E" earlier application or patent but published on or after the international   "X" document of particular relevance; the claimed invention cannot be
    filing date                                                                     considered novel or cannot be considered to involve an inventive
"L" document which may throw doubts on priority claim(s) or which is                step when the document is taken alone
    cited to establish the publication date of another citation or other        "Y" document of particular relevance; the claimed invention cannot be
    special reason (as specified)                                                   considered to involve an inventive step when the document is
"0" document referring to an oral disclosure, use, exhibition or other              combined with one or more other such documents,such combination
    means                                                                           being obvious to a person skilled in the art
"P" document published prior to the international filing date but later         "&" document member of the same patent family
    than the priority date claimed
Date of the actual completion of the international search                       Date of mailing of the international search report
                      29 January 2016 (29.01.2016)                                         29 January 2016 (29.01.2016)
 Name and mailing address of the ISA/KR                                         Authorized officer                                                e-"'N
                International Application Division                                                                                                      '    • ,k*
                                                                                                                                                  . ,
      ..     s; Korean Intellectual Property Office                                CHOI, Sang Won                                            ,.;.   s's N.,„. .: % ..,
                                                                                                                                             iz. ,,,,
                189 Cheongsa-ro, Seo-gu Daejeon, 35208, Republic of Korea                                                                                    ‘. .
                                                                                                                                              ,.• ' . s.;.:'3':

 Facsimile No. +82-42-472-7140                                                  Telephone No. +82-42-481-8291                                      ,. s...!"`-

Form PCT/ISA/210 (second sheet) (January 2015)
           Case 3:18-mc-80132-JSC Document 17-6 Filed 09/07/18 Page 50 of 50


                    INTERNATIONAL SEARCH REPORT                                International application No.
                        Information on patent family members
                                                                               PCT/US2015/056520


         Patent document                      Publication      Patent family                  Publication
         cited in search report               date             member(s)                      date




         US 2009-0024663 Al                  22/01/2009        None

         US 2009-0024627 Al                  22/01/2009        US 8166551 B2                  24/04/2012

         US 2014-0081671 Al                  20/03/2014        None

         US 8494955 B2                       23/07/2013        US 2005-0261943 Al            24/11/2005

         US 2014-0142988 Al                  22/05/2014        None

         JP 2002-083121 A                    22/03/2002        EP 1321872 Al                  25/06/2003
                                                               JP 2002-083113 A               22/03/2002
                                                               WO 02-21365 Al                 14/03/2002




Form PCT/ISA/210 (patent family annex) (January 2015)
